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      The Court has reviewed—and now APPROVES—the Monitor’s recommendation.
Accordingly, it is ORDERED that:

      1.      The Monitor shall, in his bi-annual reports, review and assess the NYPD’s
              performance-evaluation system to ensure that, on paper and in practice, it does not
              (a) reinstitute pressures that result in a focus on the quantity of stops without
              regard to their lawfulness or (b) undermine the goals of the remedial process,
              including compliance with the Fourth and Fourteenth Amendments of the
              Constitution as required by the Remedies Opinion.

      2.      During the period of Court supervision, Court approval is required before the
              NYPD implements any proposed change to the performance-evaluation system
              that may (a) introduce a mechanism to count the number of stops conducted by an
              officer or (b) affect the manner in which the quality and lawfulness of stops are
              assessed. The NYPD shall notify the Monitor and the parties of any such
              proposed change so that the Monitor—in consultation with the parties—may seek
              Court approval.

      SO ORDERED.

Dated: November 6, 2017
       New York, New York




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